CaSe:14-16938-EEB DOC#2824 Filed209/23/16 Entered209/26/1611259224 Pagel Of2

iii\t`lfrii])` `s'rA*rES BANKRUPTCY COURT
F§ti§ 91§0 r1rler DISTRICT 0F CoLoRAI)o

  
   
 

 

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In re: iif;` _
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LAKEVIEW DEVELOP`ME ' _!
CoRPoRATIoN, ease No. 14-16933 EEB

Debtor. Chapter 7

/
REQUEST FoR NoTICE

The undersigned hereby requests that all notices, pleadings and other documents filed
and/or served in this case, including all such notices described in rule 2002 of the Bankruptcy
Rules or given pursuant to Rule 9013-1, or using Form 9013-1.1, of the Local Rules of
Banl<ruptcy Procedure, be served upon the foilowing:

David M. Summers
P.O. Box 372249
Denver, Colorado 80237

Please take further notice that the foregoing request includes the notices and papers
referred to in Rule 2002 of the Federal Rules of Bankruptcy Procedure and also inciudes, Without
iimitation, notices of any orders, pleadings, motions, applications, compiaints, demands,
hearings, requests or petitions, answering or reply papers, memoranda and briefs in support of
the foregoing and any other document brought before this Court With respect to these
proceedings, whether formal or informal, whether Written or oral, and Whether transmitted or
conveyed by mail, delivery, telephone, telegraph, telex, or otherwise

Dated: Septeniher 23, 2016
Respectfully submitted,

./ /-

nfl ,

 

Dai;id M. Surnniers
P.O. BOX 372249
Denver, Colorado 80237
Tel, (303) 220-5420

Email: dsumm crs l awth rental l torn

 

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CERTIFICATE OF SERVICE

l HEREBY CERTIFY that on September 23, 2016, a true and correct copy of the foregoing
Was placed in the U.S. mail postage prepaid, to:

Daniel A. Hepner, Esq.

Aaron J. Conrardy, Esq.

1660 Lincoln Street, Suite 2200
Denver, Colorado 80264

Matthew D. Skeen

Matthew D. Skeen, Jr.

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Joli Loftstedt, Esq.
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David M. Summers

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